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Information to identify the case:
Debtor 1              Arnold Leonard Bookoff                                            Social Security number or ITIN        xxx−xx−3071
                      First Name    Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name    Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             District of Maryland                         Date case filed in chapter 13               4/16/15

Case number:          15−15498 DER            Chapter: 7                                Date case converted to chapter 7           4/8/19


Official Form 309B (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                          12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
case. Visit http://www.mdb.uscourts.gov and click on Filing Without An Attorney for additional resources and
information.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                    About Debtor 2:

1.      Debtor's full name                        Arnold Leonard Bookoff

2.      All other names used in the aka Arnold L Bookoff, aka Arnold Bookoff
        last 8 years

3.     Address                                2403 Velvet Ridge Drive
                                              Owings Mills, MD 21117

4.     Debtor's attorney                      Rudolph Ettore DeMeo                                  Contact phone (443) 465−4337
                                              1449 Light Street                                     Email: redemeo@gmail.com
       Name and address                       Baltimore, MD 21230

5.     Bankruptcy trustee                     Charles R. Goldstein                                  Contact phone (410) 783−6418
                                              111 S. Calvert Street                                 Email: trustee@3cubed−as.com
       Name and address                       Suite 1400
                                              Baltimore, MD 21202
                                                                                                               For more information, see page 2 >
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Debtor Arnold Leonard Bookoff                                                                                                      Case number 15−15498
6. Bankruptcy clerk's office               Baltimore Division                                                         Hours open:
   Documents in this case may be filed     101 West Lombard Street, Ste. 8530                                         8:45 − 4:00 PM
   at this address. You may inspect all    Baltimore, MD 21201
   records filed in this case at this                                                                                 Contact phone (410) 962−2688
   office or online at www.pacer.gov.
                                           Clerk of the Bankruptcy Court:
                                           Mark A. Neal                                                               Date: 4/8/19
7. Meeting of creditors                   May 14, 2019 at 11:00 AM                                                 Location:
   Debtors must attend the meeting to
   be questioned under oath. In a joint   The meeting may be continued or adjourned to a later                     101 W. Lombard Street, Garmatz
   case, both spouses must attend.        date. If so, the date will be on the court docket.                       Courthouse, 2nd Fl., #2650,
   Creditors may attend, but are not                                                                               Baltimore, MD 21201
   required to do so.

8. Presumption of abuse                   The presumption of abuse does not arise.
   If the presumption of abuse arises,
   you may have the right to file a
   motion to dismiss the case under
   11 U.S.C. § 707(b). Debtors may
   rebut the presumption by showing
   special circumstances.

9. Deadlines                              File by the deadline to object to discharge or to                         Filing deadline: 7/15/19
                                          challenge whether certain debts are dischargeable:
   The bankruptcy clerk's office must
   receive these documents and any        You must file a complaint:
   required filing fee by the following   • if you assert that the debtor is not entitled to
   deadlines.                               receive a discharge of any debts under any of the
                                            subdivisions of 11 U.S.C. § 727(a)(2) through (7), or
   All claims actually filed by a creditor
   before conversion of the case are       • if you want to have a debt excepted from discharge
   deemed filed in the Chapter 7 case.       under 11 U.S.C § 523(a)(2), (4) or (6).
   You need not re−file your proof of
   claim.
                                           You must file a motion:
                                           • if you assert that the discharge should be denied
                                             under § 727(a)(8) or (9).

                                          Deadline for all creditors to file a proof of claim                       Filing deadline: 6/17/19
                                          (except governmental units):
                                          Deadline for governmental units to file a proof of                        Filing deadline: 10/7/19
                                          claim:

                                          Deadlines for filing proof of claim:
                                          A proof of claim is a signed statement describing a creditor's claim. A Proof of Claim may be filed electronically
                                          from the court's web site at http://www.mdb.uscourts.gov/content/electronic−filing−claims. A proof of claim form
                                          may be obtained at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the
                                          deadline, you might not be paid on your claim. To be paid, you must file a proof of claim even if your claim is
                                          listed in the schedules that the debtor filed.
                                          Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                          claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                          example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                          right to a jury trial.


                                          Deadline to object to exemptions:                                         Filing deadline: 30 days after the
                                          The law permits debtors to keep certain property as exempt. If you        conclusion of the meeting of creditors
                                          believe that the law does not authorize an exemption claimed, you
                                          may file an objection.

10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.

11. Liquidation of the debtor's            The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's property that is not
    property and payment of                exempt. If the trustee can collect enough money, creditors may be paid some or all of the debts owed to them
                                           in the order specified by the Bankruptcy Code. To ensure you receive any share of that money, you must file a
    creditors' claims                      proof of claim as described above.

12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at the
                                           bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                           exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                           objection by the deadline to object to exemptions in line 9.

13. Debtor electronic                      The U.S. Bankruptcy Court for the District of Maryland offers all parties the ability to receive court notices and
    bankruptcy noticing                    orders via email, instead of U.S. mail. To participate, debtors must complete and file a DeBN request form with
                                           the Court −− additional information is available under Programs & Services at http://www.mdb.uscourts.gov.
                                           Other parties (non−debtors) can register at ebn.uscourts.gov.


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